Case 1:15-cr-10323-IT Document 79-1 Filed 06/17/16 Page 1 of 3

Exhibit A

 
 

Case 1:15-cr-10323-IT Document 79-1 Filed 06/17/16 Page 2 of 3

 

 

AO 110 (Rev, 06/09) Subpoena to Testify Before a Grand Jury

UNITED STATES DISTRICT COURT

for the

District of Massachusetts

SUBPOENA TO TESTIFY BEFORE A GRAND JURY

Behman Hambelton LLP
To; Keeper of Records

600 West Cummings Park

Suite 5600

Worburn, MA 01801

YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown

below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.

 

Place: Grand Jury Room, 10th Floor
John Joseph Moakley Federal Courthouse

1 Courthouse Way 06/25/2015 10:00 am
Boston, MA 02210

Date and Time:

 

 

 

You must also bring with you the following documents, electronically stored information, or objects (blank ifnot
applicable):

THIS SUBPOENA REQUEST IS FOR PRODUCTION OF DOCUMENTS, as set forth in the Attachment.

In lieu of appearing before the Grand Jury at the date and time shown above, you may comply with this subpoena by,
at your option, causing the materials described to be mailed or emailed to Special Agent Ronald Mullett, IRS-Cl, 60
Quaker Lane, Ste 68, Warwick, R! 02886: ronald, mullett@ci.irs.gov. SA Mullett can be reached at 401-826-4724.
Such documents must be received before the retum date of this subpoena.

The attached Certificate of Authenticity must be completed and returned, along with a copy of this subpoena.

Date: 06/12/2015

 

 

The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who

requests this subpoena, are: .
AUSA Stephen P. Heymann LY
United States Attorney's Office” ¢

John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 9200
Boston, MA 02210

Telephone: 617-748-3100

 
Case 1:15-cr-10323-IT Document 79-1 Filed 06/17/16 Page 3 of 3

ATTACHMENT TO SUBPOENA DUCES TECUM ISSUED TO:

Behman Hambelton LLP
Keeper of Records

600 West Cummings Park
Suite 5600

Woburn, MA 01801

FOR THE YEARS: 2005 - 2009 .

Please provide the following documents in your custody whether electronic, in paper
form, in electronic mail or any other form related to the financial transactions of:

DANIEL P. GIBSON (>

And

GIBSON & BEHMAN, P.C. =,
One Mountain Road

Burlington, MA 01803

Such records to include but not limited to:

All records used in or resulting from the preparation of federal and state income tax
returns consisting of but not limited to draft returns, draft income statements, pro forma
financials or other summaries of income related information shared with the above
individual / entity or otherwise, work-papers, notes, papers, calendars or appointment
ledgers indicating the time, location and participants in yearend accounting meetings,
memoranda and correspondence used or prepared by you relative to the preparation of
the aforementioned returns.

All records reporting the financial activity of the firm whether intended for use outside
the firm or for internal fiscal administrative Purposes only consisting of but not limited to
summaries of billing activity, accounts receivable, daily or weekly cash collections,
deposits to operating accounts, outstanding debts or accounts payable, status of
deposits made to or due to passbook accounts and any other periodic reporting
generated internally or externally which could be relied upon when making fiscal
management decisions. These records do not include bills to clients, whether or not
reflecting particular services performed.

All records, memoranda, work-papers, notes and correspondence used, received or
prepared by or for the aforementioned business whether requested or when provided
without solicitation concerning the fiscal operations of the aforementioned business or
its principals. These records should include but not be limited to, solvency or turn-

 
